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                          PROSPECTIVE JUROR QUESTIONNAIRE

                                           Instructions

        You have been selected as a potential juror in the case of United States of America v.

Michael A. Sussmann. As part of the jury selection process in this case, the Court asks that you

complete the attached questionnaire today, and will ask that you return next week to complete the

jury selection process. The trial is scheduled to begin May 16, 2022, and it is expected to last

approximately two (2) weeks, but could run longer. Those selected as members of the jury will

live at home and have their evenings and weekends free to themselves. Your contact with other

people will not be restricted, although beginning now and continuing until you have been excused

from further service by the Court, you will not be permitted to talk about the case with anyone, or

to read, listen to, or watch any press coverage the case might receive.

        In this case, the government has accused the defendant of making a false statement to a

Federal Bureau of Investigation (FBI) official, and has charged defendant with one count of false

statement to the United States government. A more detailed description of the charge will be given

at the beginning of the trial.

        The defendant in this case is Michael A. Sussmann. He is 57 years old and a United States

citizen. Mr. Sussmann has pled not guilty to the charge against him and is presumed to be innocent

of the charge.

        The purpose of the jury selection process is to select jurors who have no bias toward either

side of the case, can keep an open mind, and can follow the judge’s instructions. Our goal is to

select a jury that will reach a verdict based solely on the evidence presented in the courtroom and

the law as the Court instructs you. The information which you give in your answers to this

questionnaire will be used only by the Court and the parties to select a qualified jury. The purpose

of this questionnaire is to save time and avoid jurors having to sit around and wait before they


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answer these or similar questions in person. The purpose of these questions is not to ask

unnecessarily about your personal matters. It is solely to determine whether a prospective juror

can decide this criminal case fairly, objectively, and impartially.

       To protect your identity, the only page which contains your name is the certification page,

which will remain confidential and will be shared only with court personnel and the attorneys.

After a jury has been selected, all copies of your response to this questionnaire will be returned to

the Clerk of the Court and kept in confidence, under seal, away from public viewing. This

questionnaire will NOT be made public.          The attorneys are under orders to maintain the

confidentiality of any information they learn in the course of reviewing this questionnaire.

       Please answer each question below as completely and as accurately as you reasonably can.

Please remember there are no right or wrong answers, only complete and incomplete answers. All

that matters is that your answers are truthful. Your complete written answers will save a great deal

of time for the Court, for the lawyers, and for you, and your full candor will give the Court and

both parties the opportunity to select a fair and impartial jury.

       Please print your answers and please use ink only. Please fill out the entire questionnaire.

Do not leave any questions blank. If a question does not apply to you in any way, write “N/A”

rather than leaving the form blank. If you cannot answer a question because you do not understand

it, write “do not understand” in the space after the question. If you cannot answer a question

because you do not know the answer, write “do not know” in the space after the question. Please

do not write anything on the back of any page. If at any point in answering this questionnaire you

need more space to complete your answer, please continue your answer on the blank sheets of

paper provided at the end of this questionnaire. Be sure to indicate on the blank page the number

of the question you are answering.




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       Please answer the questions by yourself and without the help of anyone else. Please do not

discuss the questions or your answers with anyone, including your family members. It is extremely

important that the answers in this questionnaire are yours and yours alone.

       In addition, now that you are a prospective juror, you MUST follow the instructions listed

below until you have been excused from further service in this case.

       DO NOT at any time discuss this case or questionnaire with anyone, including your spouse,

significant other, friends, family members, or other members of this jury panel.

       DO NOT let anyone, including friends, family members, court personnel, parties to this

case, or persons involved in this case, talk to you about your views or any aspect of this case or

questionnaire except officially in the courtroom.

       DO NOT read anything whatsoever about this case, including on the internet or social

media, and please avoid any newspaper or social media accounts that may relate to this case.

       DO NOT post anything on the internet or blog about the case.

       DO NOT read or listen to any news accounts, whether in a newspaper, on the internet, in

social media, on television, or on the radio concerning this case or the defendant, Michael A.

Sussmann.

       DO NOT communicate with anyone about this case or your potential jury service. This

includes through the use of any cell phone, computer, or any other form of electronic

communication, including through text, email, instant message or any other form of

communication. This also includes social media, including but not limited to Twitter, Facebook,

YouTube, Skype, LinkedIn, or any other social media.




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       Finally, you are expected to sign your questionnaire, and your answers will be given the

same effect as a statement given to the Court and under oath. You are sworn to give true and

complete answers to all questions.

       Thank you for your cooperation with these instructions and for your careful and honest

responses to the questionnaire. Your forthright and full cooperation is of vital importance to the

Court and the parties.




                                             THE HONORABLE CHRISTOPHER R. COOPER
                                             United States District Judge




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                                                                            Juror Number ______


Gender:____________________

IN COMPLETING THIS QUESTIONNAIRE, PLEASE USE THE SPACE PROVIDED IN
EACH QUESTION. IF YOU NEED MORE SPACE, PLEASE USE THE PAGES PROVIDED
AT THE END OF THE QUESTIONNAIRE, INDICATING THE NUMBER OF THE
APPLICABLE QUESTION.

TERMS:

In this questionnaire, certain questions are asked about you, members of your immediate family,
and close personal friends. Immediate family includes parents and grandparents, children and
grandchildren, aunts and uncles and cousins you see on a regular basis and consider yourself close
to. Close personal friends means friends who are like family and who you talk to on a regular
basis and share private matters with.

                                 PRELIMINARY MATTERS

1.     Jury service is the civic duty of each citizen. The pre-screening questionnaire you received
with your summons for jury duty required that any request to be excused from jury duty should be
made with your initial response to the Jury Office. Prior to today, have you asked to be excused
from this jury panel?

Yes ☐          No ☐

2.       The trial in this case may last two (2) weeks and could run longer. The typical trial day
lasts from 9:30 a.m. to 5:00 p.m., with 15-minute breaks in the morning and afternoon and a lunch
break from approximately 12:30 p.m. to 1:45 p.m., Monday through Thursday. There is also a
possibility that trial will take place on some Fridays. If there is any reason why you are not
available for service during the period beginning May 16, 2022, and ending approximately
May 27, 2022, please explain your reason in detail.




3.      Is English your first language?

Yes ☐          No ☐

4.      Are you able to read, write, and understand the English language?

Yes ☐          With Difficulty ☐          No ☐

5.      Do you feel that you are able to complete this questionnaire without another’s assistance?

Yes ☐          No ☐



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IF YOUR ANSWER TO QUESTION 4 OR 5 IS “NO,” THEN PLEASE COMPLETE THE
CERTIFICATION ON THE LAST PAGE AND RETURN THE QUESTIONNAIRE WITHOUT
ANSWERING ANY ADDITIONAL QUESTIONS.

6.    Do you have any moral, religious, or ethical beliefs that prevent you from sitting in
judgment of another person?

Yes ☐          No ☐

If yes, please explain:




7.      Do you have any physical or medical condition, or are you taking any medication, that
would make it difficult for you to serve as a juror in this case or to sit and focus for long periods
of time without a break?

Yes ☐          No ☐

If yes, please explain:




8.      Do you have any difficulty hearing that is not corrected with a hearing aid or any difficulty
seeing that is not corrected by glasses or contact lenses?

Yes ☐          No ☐

If yes, please explain:




9.      Will you be paid by your employer (including commissions and overtime) or otherwise be
able to earn a living while serving on jury duty?

Yes ☐          No ☐           Don’t Know ☐           N/A ☐



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If no, will that be an economic hardship? If it will be a hardship, please explain:




10.    Do you have any personal, professional, educational, or financial obligations that would
prevent you from giving your full attention or from being present in Court for the duration of the
trial?

Yes ☐          No ☐

If yes, please explain:




11.     Is there anything not covered in this section that you think the Court should know which
you think might influence your physical or mental ability to perform the obligations of a juror in
this case?

Yes ☐          No ☐

If yes, please explain:




                              BACKGROUND INFORMATION

12.     What is your date of birth? __________

13.     What is your marital status? (Check all that apply.)

        Single and never married
        Married _____ (# of years: _____)
        Separated _____ (# of years: _____)
        Divorced _____ (# of years: _____)
        Divorced and remarried _____ (# of years: _____)
        Living with significant other (domestic partner) _____ (# of years: _____)
        Widow or Widower _____ (# of years: _____)

[Note: If living with someone, please provide information about your “significant other” or
“domestic partner” on every question where information is requested about a “spouse.”]

14.     Whom do you live with?      _________________________________________________

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15.    How long have you lived in Washington, D.C.?         _____________________________

16.    In what other cities, towns, or areas have you maintained your residence in the last 10
years?




17.    Do you: Own ☐         Rent ☐      Live with relatives/friends ☐

                            EMPLOYMENT AND EDUCATION

18.    What is your occupational status? (Check all that apply.)

Work full-time outside the home ☐
Work part-time outside the home ☐
Full-time homemaker ☐
Homemaker with part-time employment ☐
Volunteer full-time with charitable organization ☐
Volunteer part-time with charitable organization ☐
Unemployed – looking for work ☐
Unemployed – not looking for work ☐
Full-time student ☐
Part-time student
Retired ☐
Disabled ☐
Other (please specify)

       a.     If you are a student (full-or part-time), please describe your area of study:




       b.     If you are currently employed, please state your current occupation, name of your
       employer, how long you have worked for your current employer, job title, primary
       responsibilities, and number of people you supervise (if any):




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        c.     If you are currently unemployed, retired, disabled, or otherwise not employed
        outside the home, please state your last full-time job, name of employer, job duties, and
        how many years it has been since you were so employed:




19.     Please list any other jobs you have held during your working years:




20.     Are you self-employed or do you own any portion of the business at which you work?

Yes ☐          No ☐

21.    Describe your spouse’s current occupation, employer, primary responsibilities, and length
of employment:




22.    Are you, your spouse or any family member a vendor, contractor, or subcontractor for the
United States Government or do you or they work for a vendor, contractor, or subcontractor for
the United States Government?

Yes ☐          No ☐

If yes, please explain:




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23.    Check the highest level of education attained by you and your spouse.

                                                    You                  Spouse

Grade school or less                               __________          __________
Some high school                                   __________          __________
High school graduate                               __________          __________
Technical or business school                       __________          __________
Some college                                       __________          __________
2-year college degree                              __________          __________
4-year college degree                              __________          __________
Post-graduate study – no degree                    __________          __________
Graduate degree                                    __________          __________



24.    If you have any education or training beyond high school, please provide the following:

College or school:

Major area(s) of study:

Degrees or certificates:



25.    Check to indicate whether you or your spouse (significant other, domestic partner) has
education or experience with any of the following fields:

                                                    You                  Spouse

Law/Paralegal/Legal Field                          __________          __________
Criminal Justice/Law Enforcement                   __________          __________
Security/Intelligence                              __________          __________
Journalism/Media/Communications                    __________          __________
Cybersecurity                                      __________          __________
Information Technology                             __________          __________
Domain Name System (“DNS”)                         __________          __________
International Relations                            __________          __________
Politics/lobbyist                                  __________          __________
University Professor/Researcher                    __________          __________

For any item checked, please describe:




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                 ORGANIZATIONAL AFFILIATIONS AND ACTIVITIES

26.     Are you currently, or have you ever been, a member or regular participant in any civic,
social, union, professional, business, fraternal, recreation, or other community groups or charitable
organizations?

Yes ☐          No ☐

If yes, please list those groups or organizations, your role, and the length of your membership:




27.     What are your hobbies, recreational, leisure, or spare time activities?




28.     How often do you seek out positions of leadership at work or in other groups?

        Always ☐          Often ☐   Sometimes ☐       Seldom ☐       Never ☐

29.    Have you or any member of your family ever attended a meeting, sponsored an effort, or
supported any group that deals with the reform of any laws?

Yes ☐          No ☐

If yes, please explain:




30.    Other than as a voter, are you now or have you ever been actively involved in politics (e.g.,
fundraising, voter registration, candidate for office, or candidate’s staff)? If yes explain.

Yes ☐          No ☐




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31.     Do you or your spouse belong to, or are you associated with or do you contribute money
to, any think tank, public policy, or advocacy group?

Yes ☐          No ☐

If yes, please generally describe the causes you support:




32.     Without revealing which candidate you voted for, did you vote in the 2016 presidential
election?

Yes ☐          No ☐



33.     Did you work or volunteer for, or contribute to, any 2016 presidential campaign?

Yes ☐          No ☐

If yes, please generally describe:




34.    Are you presently a member at, or do you regularly attend, a church, synagogue, mosque,
temple, or other religious organization?

Yes ☐          No ☐

                                     PRIOR JURY SERVICE

35.     Have you ever served on a trial jury?

Yes ☐          No ☐

If yes, how many times have you served as a juror?________




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        For each jury service, please indicate:


            Federal           Civil or            Charge or                            Verdict
 Year
            or State          Criminal            Type of Case                         Reached

                                                                                 Yes   ☐     No   ☐
                                                                                 Yes   ☐     No   ☐
                                                                                 Yes   ☐     No   ☐
                                                                                 Yes   ☐     No   ☐

36.     Have you ever served as a jury foreperson? Yes ☐          No ☐

If yes, how many times? ______

37.     Have you ever served as a juror on a grand jury in federal or state court? Yes ☐ No ☐

If yes, how many times have you served as a grand juror?________

        For each grand jury service, please indicate the following (do not provide names):


            Federal                                        Grand jury able to reach agreement
 Year                         Type of Case
            or State                                       on issuance of true bills?

                                                           Yes   ☐      No   ☐
                                                           Yes   ☐      No   ☐
                                                           Yes   ☐      No   ☐
                                                           Yes   ☐      No   ☐

38.     Is there anything about your previous experience as a juror (either on a trial jury or grand
jury) that would make you hesitant to serve on a jury again?

Yes ☐          No ☐

If yes, please explain:




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39.     Did your prior jury service (either trial jury or grand jury) leave you with any impressions
about the criminal justice system that impact the way you will judge this case?

Yes ☐          No ☐

If yes, please explain:




40.     Do you know any of the other jurors who have been called for jury service in this case?

Yes ☐          No ☐

If yes, which jurors?

                                     MILITARY SERVICE

41.     Have you or any close family member ever served in the armed forces?

Yes ☐          No ☐

If yes, please respond to the following both as to yourself and to your close family members:

                                                      You                    Family Members
        Branch and highest rank:
        Dates of service:
        Place of service:
        Type of discharge:

Please describe your and/or your family members’ role and duties:




                                      MEDIA EXPOSURE

42.     Where do you get most of your news about current events? (Check all that apply)

Newspapers (including online) ☐        Television ☐         Radio ☐           Internet ☐

Social Media ☐          Other sources (specify) __________________________

Do not follow local or national news ☐

Please identify which television channels, websites, newspapers, or apps you go to most often for
news:

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43.    Do you regularly listen to or watch opinion media, including talk radio, programs on cable
news, podcasts?

Yes ☐          No ☐

If yes, please list what you watch/listen to:




44.    Do you have an account or profile on any social-media networking website? (check all that
apply)

Facebook ☐        Twitter ☐ Instagram ☐         LinkedIn ☐       Snapchat ☐          Other ☐

If yes, please indicate how often you use any form of social media (circle):

Several times a day ☐ Daily ☐ Several times a week ☐ Weekly ☐                   Rarely ☐ Never ☐

45.     What are your favorite TV shows?

(1)   ________________________________ (2) ________________________________

46.    Do you regularly watch television shows or documentaries about law, law enforcement,
criminal investigations, trials, espionage, or foreign affairs?

Yes ☐          No ☐            If yes, which shows or documentaries?




47.     Have you ever regularly followed media coverage of any trials?

Yes ☐       No ☐

If yes, please briefly describe the case(s):




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48.     To assure that the decision of jury in this case is not based upon influences outside the
courtroom, the Court instructs that you must avoid reading about the case in the newspapers or
listening to any radio or television reports concerning this case including news coverage or
communications on the internet or social media. You may not discuss or communicate about this
case with your family, friends, co-workers, or anyone else including on the internet or social media.
Also, until you retire to deliberate, you may not communicate about this case with your fellow
jurors. Will you be able to follow these instructions?

Yes ☐       No ☐

If no, please explain:




               KNOWLEDGE OF TRIAL PARTICIPANTS AND THE CASE

The charge in this case arises out of a meeting that took place between Michael A. Sussmann and
former FBI General Counsel James Baker in September 2016. There is nothing wrong with having
heard or read something about this case. It is important that you truthfully and fully answer the
following questions concerning your knowledge about the case and trial participants.

49.    The judge who will preside over this case is The Honorable Christopher R. “Casey” Cooper
of the United States District Court for the District of Columbia. Do you or anyone close to you
know, or have any connection with, Judge Cooper or any of his staff?

Yes ☐       No ☐

If yes, please explain:




50.    In this case, the Government will be represented by Special Counsel John Durham and the
following Assistant Special Counsels. Do you know, or have you had any social or professional
contact with, any of them or any member of their staff?




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   John Durham (Special Counsel)                Yes ☐     No ☐

   Andrew DeFilippis                            Yes ☐     No ☐

   Michael Keilty                               Yes ☐     No ☐

   Jonathan Algor                               Yes ☐     No ☐

   D. Brittain Shaw                             Yes ☐     No ☐

   If yes, please explain:




51.    In this case, the defendant will be represented by lawyers from the law firm of LATHAM
& WATKINS. Do you know, or have you had any social or professional contact with, any of them
or any member of their staff?

   Sean Berkowitz             Yes ☐      No ☐

   Michael Bosworth           Yes ☐      No ☐

   Natalie Rao                Yes ☐      No ☐

   Catherine Yao              Yes ☐      No ☐

   If yes, please explain:




52.    The defendant in this case is Michael A. Sussmann, age 57, who is a resident of
Washington, D.C. Do you, any member of your family or close personal friends know, or have
any connection with, Mr. Sussmann or any of his family members?

Yes ☐       No ☐

If yes, please explain:




53.    Do you, any family member, or close personal friend know, or have any connection to the
following individuals or entities?

Alfa Bank                                                                    Yes ☐    No ☐


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FBI                                                                                Yes   ☐    No   ☐
James Baker (former FBI General Counsel)                                           Yes   ☐    No   ☐
Donald Trump                                                                       Yes   ☐    No   ☐
Trump Organization                                                                 Yes   ☐    No   ☐
Hillary Clinton                                                                    Yes   ☐    No   ☐
Hillary for America                                                                Yes   ☐    No   ☐
Rodney Joffe (Senior Technical Expert, Neustar)                                    Yes   ☐    No   ☐
Perkins Coie (Law Firm)                                                            Yes   ☐    No   ☐
Central Intelligence Agency                                                        Yes   ☐    No   ☐
Fusion GPS                                                                         Yes   ☐    No   ☐
Packet Forensics                                                                   Yes   ☐    No   ☐
Zetalytics                                                                         Yes   ☐    No   ☐
Georgia Tech University                                                            Yes   ☐    No   ☐

If yes, please explain your knowledge and connection to each:



54.     Have you read or heard anything about any of these individuals or entities?

Yes ☐       No ☐

If yes, please explain what you have read or heard:




55.     A list is attached at the end of this questionnaire containing the names of people who may
either be witnesses in the case or who may be discussed during the trial. Please review the list and
identify any names that you recognize.




56.   Prior to filling out this questionnaire, had you seen, read, or heard anything at all about this
case?

Yes ☐       No ☐

If yes, please explain what you have heard or read, and identify the source of this information:




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57.     Have you discussed or overheard others discuss this case, Mr. Sussmann, or the charge in
this case?

Yes ☐        No ☐

If yes, please describe what was discussed:




58.    Have you formed or expressed any opinion about Mr. Sussmann, the charge in this case,
or about his guilt or innocence in this case?

Yes ☐        No ☐

If yes, what opinions have you formed or expressed?




        a.     Is this an opinion you hold today? Yes ☐        No ☐        Unsure ☐

59.    Have you, any family member, or close personal friend been employed by, or had any
association or connection with, any of the following:

        a.     House Permanent Select Committee on Intelligence               Yes ☐        No ☐

        b.     House Judiciary Committee                                      Yes ☐        No ☐

        c.     House Committee on Oversight and Government Reform             Yes ☐        No ☐

If yes, to any of the above, please explain in detail your (his/her) employment, association, or
connections:




60.     Have you, any family member, or close personal friend participated or had any connection
with any other government agency, group, organization, committee or subcommittee, public or
private group or organization, including any media group or organization that has investigated or
made inquiry into (1) Russian interference with the 2016 election, (2) the federal government’s


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investigation of Donald Trump’s relationship with Russia, or (3) the federal government’s
investigation of Russian interference in the 2016 election?

Yes ☐       No ☐

If yes, please explain:




61.     In this case, you may hear references to classified information. Classified information is
information or material that has been determined by the U.S. Government to require protection
against unauthorized disclosure. The Court will use procedures in this case to balance the
Government’s interest in non-disclosure of classified information and the interest of the defendant
and/or the public to have access to such information to ensure that there is a fair trial. Therefore,
the evidence admitted during the trial will include unclassified summaries or redacted versions of
classified information, but not necessarily the classified information itself. Do you have strong
feelings about the use of these procedures to protect classified information in a criminal case or
about your access to, or the lack of access to, classified information during the trial?

Yes ☐       No ☐

If yes, please explain:




        EXPERIENCE WITH LAW, LAW ENFORCEMENT, AND THE COURTS

62.     Have you, a family member, or close friend ever worked in any aspect of the legal field as
a lawyer, prosecutor, criminal defense attorney, legal secretary, paralegal, court reporter,
investigator, law clerk, judge, etc.?

Yes ☐       No ☐

If yes, please explain:




63.     Do you have any concerns or opinions about the law firm Perkins Coie or its activities?

Yes ☐       No ☐

If yes, please explain:

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64.     Do you have any strong feelings or opinions about large law firms in Washington, D.C.?

Yes ☐       No ☐

If yes, please explain:




65.     In general, what is your opinion of lawyers?




66.     Check to indicate whether you, a member of your family, or a close friend, have ever
applied for employment with, were employed by, or received training by any local, state, or federal
judiciary or law enforcement agency, including the following:

       Department of Justice (DOJ)                           Yes   ☐       No   ☐
       Federal Bureau of Investigation (FBI)                 Yes   ☐       No   ☐
       U.S. Attorney’s Office                                Yes   ☐       No   ☐
       Department of Homeland Security (DHS)                 Yes   ☐       No   ☐
       U.S. Marshall’s Service                               Yes   ☐       No   ☐
       U.S. State Department                                 Yes   ☐       No   ☐
       U.S. Bureau of Prisons (BOP)                          Yes   ☐       No   ☐
       Central Intelligence Agency (CIA)                     Yes   ☐       No   ☐
       Defense Intelligence Agency (DIA)                     Yes   ☐       No   ☐
       National Security Agency (NSA)                        Yes   ☐       No   ☐
       Federal, state, or local prison or jail               Yes   ☐       No   ☐
       Federal, state, or local courthouse                   Yes   ☐       No   ☐
       Federal, state, or local prosecutor’s office          Yes   ☐       No   ☐
       Federal, state or local public defender office        Yes   ☐       No   ☐
       Other_____________________________                    Yes   ☐       No   ☐


If yes to any of the above, please explain who (in relation to you), what agency, when, and for
how long, and the position or involvement:




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67.     Several witnesses in this case may be federal law enforcement officers. The judge will
instruct you that the testimony of a law enforcement officer is to receive no greater or no lesser
consideration simply because that witness is a law enforcement officer. Would you have difficulty
following that instruction?

Yes ☐       No ☐

If yes, please explain:




68.    Do you have any opinions or beliefs concerning law enforcement in general, including the
Federal Bureau of Investigation (FBI), the Department of Justice, or the Central Intelligence
Agency (CIA) that would affect your ability to evaluate the evidence fairly and impartially?

Yes ☐       No ☐

If yes, please explain:




69.     Do you now hold, or have you ever applied for, a security clearance?

Yes ☐             No ☐

If yes, please explain:




                                EXPERIENCE WITH CRIME

70.     Have you, any family member, or close friend ever been the victim of, or witness to, a
crime, reported or not?




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Yes ☐       No ☐

         If yes, for each incident please provide the following information: type of crime, who
 (you or relationship to you), when the crime occurred, whether anyone was arrested, and, if so,
 the outcome of the case:




71.    Have you, a family member, or close friend ever been arrested, charged, prosecuted or
convicted of any crime other than a traffic ticket?

Yes ☐       No ☐

If yes, please explain who (in relation to you), when, and what happened:




72.    If you answered yes to either of the two preceding questions: do you feel that you or the
person close to you was treated fairly by the criminal justice system?




73.    Have you, any family member, or close friend ever been hacked or in any way been the
victim of a cybercrime?

Yes ☐       No ☐

If yes, please explain:




74.     How do you feel about current laws protecting the privacy of US citizens?

They should be strengthened and more strongly enforced ☐


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They are fine as they are ☐

They are too strong and too strictly enforced ☐

Please explain:




75.      Have you or has a family member or close friend ever been subpoenaed to be a witness, or
testified as a witness in any court proceeding or criminal case?

Yes ☐       No ☐

If yes, please explain:




                  CRIMINAL JUSTICE SYSTEM AND LEGAL PRINCIPLES

76.     Briefly describe your general opinions, if any, about the following:

The criminal justice system:




Law enforcement officers:




Prosecuting attorneys:




Defense attorneys:



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77.      The judge will instruct you that the defendant is presumed innocent and cannot be found
guilty unless the jury, unanimously and based solely on the evidence in this case, finds that the
United States has proven his guilt beyond a reasonable doubt. The burden of proving guilt rests
entirely with the United States. The defendant is not required to prove his innocence. This means
that if the United States fails to prove the defendant’s guilt beyond a reasonable doubt, you must
find the defendant not guilty. Can you adhere to and follow this principle of law?

Yes ☐       No ☐        If no, please explain:




78.      The judge will instruct you that, under the law, a defendant accused of a crime does not
have to testify in his or her defense. If a defendant does not testify, the jury may not consider that
fact in any way in deciding whether a defendant is guilty. Can you follow and apply this principle
of law?

Yes ☐       No ☐        If no, please explain:


79.     Some of the witnesses in this case may be people who testify under an order from the Court
giving them immunity. Is there anything about that circumstance that will make it difficult for you
to evaluate their testimony fairly and impartially in accordance with the Court’s instructions?

Yes ☐       No ☐        If yes, please explain:




80.     The judge will instruct you that the charge in this case include: making a false statement to
a federal agency. Is there anything about the charge which would affect your ability to be fair?

Yes ☐       No ☐        If yes, please explain:




81.     Jurors are the sole judges of the facts. However, the jury must follow the principles of law
as instructed by the judge. The jury may not follow some rules of law and ignore others. Even if
the jury disagrees with or dislikes the rules of law or does not understand the reasons for some of
the rules, it is their duty to follow them. Do you have any personal beliefs that would make it
difficult to follow the Court’s legal instructions, whatever they may be?



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Yes ☐       No ☐        If yes, please explain:




82.      If, during the course of jury deliberations, a fellow juror should suggest that you disregard
the law or the evidence and decide the case on other grounds, would you, as a juror, be able to
reject that suggestion and abide by your oath to this court to decide the case solely on the evidence
and law as the court has instructed you to do, without regard to sympathy, bias or prejudice?

Yes ☐       No ☐

83.     The judge will instruct you that an indictment is not evidence, that it is a document that
sets forth the charge made against the defendant. It may not be considered as evidence of the
defendant’s guilt. Will you be able to follow the judge’s instruction regardless of the nature of the
charge in the indictment?

Yes ☐       No ☐        If no, please explain:




84.     Is there anything about this case, the issues, and/or the people involved in this case or any
other reason you could not be completely fair to the defendant, Michael A. Sussmann, and the U.S.
Government in this case?

Yes ☐       No ☐        If yes, please explain:




                                 CONCLUDING QUESTIONS

85.     If you were selected to serve on this jury, would you consider and respect the view of other
jurors even if their views differed from yours, in accordance with the Court’s instructions?

Yes ☐       No ☐

86.     Do you have any personal reason for wanting to serve as a juror in this case, or any personal
interest in the outcome of the case?

Yes ☐       No ☐        If yes, please explain:




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87.     If you are selected to serve as a juror on this case, would you be concerned about reactions
to your verdict by any other individual, group, or media organization?

Yes ☐       No ☐        If yes, please explain:




88.     Is there anything you prefer to discuss privately with the judge (including your responses
to particular questions) or is there any matter not covered by this questionnaire that you think the
attorneys or the Court might want to know about you when considering you as a juror in this case?

Yes ☐       No ☐

If yes, please indicate the question number or the issue you would like to discuss with the judge
here:




89.    Is there anything about the subject matter of this case, or the points covered in this
questionnaire, which creates a question in your mind as to whether you could be a fair, objective,
and impartial juror in this particular case?

Yes ☐       No ☐        If yes, please explain:




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                                      CERTIFICATION

By signing below, I hereby declare under penalty of perjury that all of the answers to the above
questions are true and correct to the best of my knowledge and belief. I have not discussed my
answers with others or received assistance in completing the questionnaire. I have answered all
of the above questions myself.

_____________________________            _______________________________          ___________
Signature                                Print your full name here                Date

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PLEASE USE THE FOLLOWING PAGES TO CONTINUE ANY OF YOUR ANSWERS.
PLEASE INCLUDE THE QUESTION NUMBER NEXT TO EACH RESPONSE.




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PLEASE USE THE FOLLOWING PAGES TO CONTINUE ANY OF YOUR ANSWERS.
PLEASE INCLUDE THE QUESTION NUMBER NEXT TO EACH RESPONSE.




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PLEASE USE THE FOLLOWING PAGES TO CONTINUE ANY OF YOUR ANSWERS.
PLEASE INCLUDE THE QUESTION NUMBER NEXT TO EACH RESPONSE.




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                                      ATTACHMENT A

       The following people may either be witnesses in this case or may be discussed during the
trial. Please review the list and identify any names that you recognize.




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